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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,

                  - against -                                          ORDER TO SHOW CAUSE

 ANIBAL THOMPSON and                                                         04-CR-171 (NGG)
 SEAN WHITTED,

                            Defendants.
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 NICHOLAS G. GARAUFIS, United States District Judge.

         The government is ordered to show cause in writing on or before February 12, 2008 why

 the court should not, pursuant to 18 U.S.C. § 3582(c)(2) and U.S.S.G. § 1B1.10 (as amended

 effective March 3, 2008), file on March 3, 2008 an amended judgment reducing the defendants’

 term of imprisonment to time served.

         The Federal Defender for the Eastern District of New York is hereby appointed pursuant

 to the Criminal Justice Act to represent Defendant Anibal Thompson in this matter, and Jeffrey

 G. Pittell is hereby appointed pursuant to the Criminal Justice Act to represent Defendant Sean

 Whitted in this matter. Any response to the government's submission shall be filed on or before

 February 22, 2008. Any reply by the government shall be filed on or before February 26, 2008.

         At the U.S. Sentencing Commission's "Crack Summit" on January 18, 2008, the BOP

 requested that sentences of time served plus ten days be imposed instead of time served, in order

 to give the BOP time to complete its exit procedures for each inmate. The Government is

 respectfully directed to inform the BOP that the Court is considering modifying the defendant's

 sentence to time served. The Government is requested to advise the BOP that the court is not
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 inclined to delay the defendant's release in order to facilitate the BOP's exit procedures, and

 suggests that the BOP perform its exit procedures in advance to the extent that it is able to do so.



 SO ORDERED.

 Dated: February 7, 2008                                 /s Nicholas G. Garaufis
        Brooklyn, New York                             NICHOLAS G. GARAUFIS
                                                       United States District Judge
